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  Message

  From:        Sarah Stefaniu [sstefaniu@google.com]
  Sent:        8/9/20219:05:23 PM
  To:          Mini Zhuohan Li [mzhuohanli@reingold.com]
  CC:          Claudia Howard [claudiahoward@google.com]; roblesmark@google.com; Sarah Csanadi-Schwartz
               [scschwartz@reingold.com]; Caroline Sardella [csardella@reingold.comj; Michael Westervelt
               [mwestervelt@google.com]
  Subject:     Re: Unusual & Large Volumes of Invalid Activities on MTC Invoices



  Hi Mini,

  My apologies for the delay as I was 000 all last week. After consulting with one of our Search
  specialists on this matter this morning, I'm going to have to submit an internal escalation to the Ads
  Traffic Quality Team since they have the proper tools to investigate the root cause of the issue here.
  I will do my best to have an answer for you within the next business day.

  Thanks,
  Sarah


                                                     : Sarah Stefaniu
                                                     « Account Manager, Government & Advocacy
                                                       Google, Inc.
                                                     • sstefaniu@aoogle.com



  On Mon, Aug 9, 2021 at 1:20 PM Mini Zhuohan Li <mzhuohanli(areingold.com> wrote:
   Hi team,


   I hope you had a great weekend!
   Any updates on this requests? Can we set up a call to chat this week?


   Thanks,
   Mini


   From: Claudia Howard <claudiahoward(2igoo glc.com>
   Sent: Tuesday, August 3, 2021 4:32 PM
   To: Mini Zhuohan Li <mzhuohanli(a~reingold.com>
   Cc: Sarah Stefaniu <sstefaniungoo gle.com>; roblesmark(a),goo gle.com; Sarah Csanadi-Schwartz
   <scschwartznreingold.com>; Caroline Sardella <csardella(aireingold.com>; Michael Westervelt
   <mwestervelt(a1goo gle.com>
   Subject: Re: Unusual & Large Volumes of Invalid Activities on MTC Invoices



   Adding Mike to this thread as well.




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   On Tue, Aug 3, 2021 at 4:21 PM Claudia Howard <claudiahowardna,goo gle.com> wrote:
    Thank you, I just submitted a ticket to understand why such a high volume of invalid clicks are coming
    through understanding your position with respect to timing, I hope to get an answer/have this resolved shortly.


    More to come!


    CH


    On Tue, Aug 3, 2021 at 4:18 PM Mini Zhuohan Li <mzhuohanlina,reingold.com> wrote:
     YES! Thank you, Claudia! Please see the ad account info below:


     DVA MTC (208-618-6016)

                              .............................. ....................................
    From: Claudia Howard <claudiahowardgoo gle.com>
    Sent: Tuesday, August 3, 2021 4:11 PM
    To: Mini Zhuohan Li <mzhuohanli(&reingold.com>
    Cc: Sarah Stefaniu <sstcfanivagooglc.com>; roblesmark(a,goo~com;                       le     Sarah Csanadi-Schwartz
    <scschwartzR,reingold.com>; Caroline Sardella <csardella(c~reingold.com>
    Subject: Re: Unusual & Large Volumes of Invalid Activities on MTC Invoices


     (EYTERNAI
    Hi Mini, I was able to identify the path to hopefully get this resolved and understand how this occurred so it
    won't occur again. As I don't work on the VA can you confirm the Account IDs for me so I ensure this
    properly tagged to the appropriate accounts?


     Best,
     Claudia


     On Mon, Aug 2, 2021 at 10:08 PM Mini Zhuohan Li <mzhuohanli(&reingold.com> wrote:
      Claudia, thanks so much for jumping in! Please keep us posted!


      Thanks,
      Mini


     From: Claudia Howard <claudiahoward(      agoo gle.com>
     Sent: Monday, August 2, 2021 3:30 PM
     To: Mini Zhuohan Li <mzhuohanli reingold.com>
     Cc: Sarah Stefaniu <sstcfaniu( ,goo glc.com>; roblcsmark(goo glc.com; Sarah Csanadi-Schwartz
     <scschwartz(&reingold.com>; Caroline Sardella <csardella(ä,reingold.com>
     Subject: Re: Unusual & Large Volumes of Invalid Activities on MTC Invoices




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     (.EXTERNAL]
     Hey Mini,


     Let me dig and see what I can find out ASAP. More to come!


     CH


     On Mon, Aug 2, 2021 at 2:48 PM Mini Zhuohan Li <n zhuohanli a,reingold.com> wrote:
      Hi Claudia and Mark,


      I hope you are having a great start of the week!


      I tried to reach Sarah with a rather urgent question on the Veterans Affairs account and received her 000
      message. Our Finance team is working through July invoices this week, and I'd love to get a better
      understanding of the issue mentioned below before we submit billing requests to the client. Could you
      please kindly provide any insights or connect me with relevant resources this week?


      Thank you!
      Mini


      From: Mini Zhuohan Li
      Sent: Monday, August 2, 2021 2:38 PM
      To: Sarah Stefaniu <sstefaniu@)google.com>
      Cc: Sarah Csanadi-Schwartz <scschwartz(a)reingold.com>; Caroline Sardella <csardella(a reingold.com>
      Subject: Unusual & Large Volumes of Invalid Activities on MTC Invoices
      Importance: High


      Hi Sarah,


      I hope you had a great weekend!


      I'm reaching out with some questions regarding the MTC Google Ads invoices for June and July. We saw
      an unusually high number of invalid activities for both months: close to  credits in June and over
            credits in July.
      While I understand that we are not charged for invalid activities, the discrepancies between invoices and
      Google Ads on-platform cost report have been substantial and unpredictable since June due to the invalid
      activities. This poses significant challenges for us to manage campaign pacing. In July, based on the
      invoice, we paced behind by          for June; but we are right on pace based on the platform data. And
      platform data is what's available to us during the month.




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      This is an urgent matter that we need to get a better understanding of ASAP. As you know, we are close to
      the end of this contract year and want to be sure to spend the media budget slated for FY21 (no
      underspending is allowed in MTC's case). I hope we can get on a call as soon as possible this week to have
      a discussion! Also please feel free to call my cell if you need more context from me : ).


      Thanks so much!

      Mini Zhuohan Li
      Paid Media Manager
      Reingold, Inc.
      1321 Duke Street
      Alexandria, VA 22314
      Main: 202.333.0400
      Cell: 301.221.1238
      mzhuohanli@reingold.com




                                                             Claudia Howard
                                                             Senior Account Executive
                                                             Government & Advocacy
                                                             claudiahowardCa)google.com
                                                             202.695.8727

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     attachments.




                                                            Claudia Howard




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                                                          Senior Account Executive
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